       Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 1 of 7



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10

11                              UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                      OAKLAND DIVISION

14 PUBG Corporation and PUBG Santa Monica,           Case No. 4:18-cv-02010-JSW
   Inc.
15                                                   NETEASE DEFENDANTS’
                  Plaintiffs,                        ADMINISTRATIVE MOTION TO STAY
16                                                   MOTION TO DISMISS
         v.                                          DETERMINATION PENDING
17                                                   OUTCOME OF RULE 11 DISPUTE
   NetEase, Inc., NetEase Information
18 Technology Corporation, and Hong Kong
   NetEase Interactive Entertainment, Ltd.
19
                  Defendants.
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                                                                            Case No. 4:18-cv-02010-JSW
            NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                           OUTCOME OF RULE 11 DISPUTE
           Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 2 of 7



 1        I.      INTRODUCTION
 2                NetEase has uncovered evidence demonstrating that numerous allegations in PUBG’s

 3 Second Amended Complaint (“SAC”) are false, including allegations PUBG relied upon in

 4 opposing NetEase’s Motion to Dismiss. While ordinarily these false allegations might be

 5 resolved using the procedures set forth in Rule 11 of the Federal Rule of Civil Procedure, that is

 6 not sufficient here due to NetEase’s pending Motion to Dismiss the SAC. NetEase believes that

 7 its Motion to Dismiss should be fairly decided based on a Rule11-compliant complaint and

 8 opposition—not on false representations claiming licensed, off-the-shelf artwork as PUBG’s

 9 original creative expression, and false proclamations that NetEase used the phrase “Winner

10 Winner Chicken Dinner” in its Rules of Survival game.

11                Because, due to the procedural “safe harbor” of Rule 11, NetEase will be unable to file a

12 Rule 11 motion for several weeks, and the Court may rule on the Motion to Dismiss in the interim,

13 NetEase requests that the Court stay its determination of NetEase’s Motion to Dismiss until either

14 (i) the resolution of a Rule 11 motion, to be promptly brought by NetEase, or (ii) PUBG corrects

15 its Rule 11 problems by, pursuant to leave of Court, filing a Third Amended Complaint and

16 amending its Opposition to NetEase’s Motion to Dismiss.1

17       II.      BACKGROUND
18                After PUBG filed the Second Amended Complaint, and after briefing was complete on
19 NetEase’s Motion to Dismiss, NetEase learned that PUBG’s asserted work, Battlegrounds, used

20 unoriginal, publicly available art that is licensed on a non-exclusive basis from third parties—the

21 video game equivalent of stock photos or “clip art.” By investigating the websites of video game

22 stock asset providers, NetEase learned that PUBG repeatedly alleged as its own original, creative

23 work unoriginal art, licensed on a non-exclusive basis from third parties. Compare, e.g., SAC

24 ¶¶23, 25, 32, 33, 57, 68, 71, 76, 89, 99, 102, 107, 121 with LaFond ¶¶ 2, 3, 4, 6. These third

25 parties include the Unreal Marketplace, which describes itself as an “e-commerce platform

26 through which content creators using UE4 connect with developers by providing a wealth of

27 game-ready content and code.” LaFond ¶ 5, Ex. C. The discovery of the true facts of authorship

28   1
               NetEase’s proposal for a resolution of this dispute may be found in LaFond Ex. F.
                                                            -1-                      Case No. 4:18-cv-02010-JSW
                   NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                                  OUTCOME OF RULE 11 DISPUTE
        Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 3 of 7



 1 and ownership immediately raised concerns about PUBG’s Rule 11 basis for having included

 2 these non-exclusively licensed assets in its SAC and identifying them as “unique, creative …

 3 visual elements,” and “individual works of creative expression that each individually constitute

 4 copyrightable subject matter.” SAC ¶23, et seq.

 5          On October 18, 2018, NetEase sent a letter to PUBG’s counsel raising this issue, as well as

 6 PUBG’s false allegation that Rules of Survival used the phrase “Winner Winner Chicken Dinner.”

 7 LaFond Ex. D. PUBG responded on October 23, 2018, and did not deny the use of unoriginal

 8 images in the SAC, but nonetheless asserted that amendment of the SAC was not necessary. See

 9 LaFond Ex. E. While NetEase is prepared to meet and confer further, it is not clear that the

10 Parties can reach a resolution before a ruling on the Motion to Dismiss. See, e.g., LaFond Ex. F.

11 Further, as PUBG may not unilaterally amend its complaint a third time without agreement from

12 NetEase or leave of Court (see Fed. R. Civ. P. 15), motion practice may now be unavoidable.

13 III.     NETEASE WILL BE PREJUDICED IF ITS MOTION TO DISMISS IS
            ADJUDICATED BEFORE THE RULE 11 DISPUTE IS RESOLVED
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            PUBG’s Opposition to NetEase’s Motion to Dismiss relies extensively on SAC paragraphs
15
     that appear to violate Rule 11, including its false allegations about “Winner Winner Chicken
16
     Dinner” (SAC ¶81), upon which it places significant rhetorical weight. Dkt. 66 at 18–19.
17
            PUBG’s Opposition also relies on its false allegations of creative expression and
18
     ownership. For example, PUBG cited Paragraph 102 of the SAC in its Opposition (Dkt. 66 at
19
     18), which alleges that “Defendants copied PUBG’s expressive depictions of the grenades [in
20
     BATTLEGROUNDS]” (emphasis added; see also SAC ¶71) and shows two images:
21
       Alleged Battlegrounds Grenade (SAC ¶102)               Knives Out Grenade (SAC ¶102)
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27 But the grenade on the left is not “PUBG’s expressive depiction[].” Rather, it—like all of the

28 grenades alleged in the SAC—is an off-the-shelf asset available for sale to the general public—
                                                    -2-                      Case No. 4:18-cv-02010-JSW
             NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                            OUTCOME OF RULE 11 DISPUTE
        Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 4 of 7



 1 from the Unreal Marketplace. Compare LaFond Ex. A with SAC ¶¶71, 102:

 2                            Battlegrounds Images,       from SAC ¶¶71, 102
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 7                         Images from Unreal Marketplace (LaFond Ex. A)

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13 The resemblance in these images is uncanny. For example, the smoke grenade art sold in the

14 Unreal Marketplace depicts the same string of numbers as PUBG’s allegedly “original” grenades:

15 008-831. Id. Ex. A. This art was licensed by PUBG, and is not its original expression. Yet

16 PUBG presented it as its own, alleging “each weapon has been stylized to make it distinct from

17 actual real life weapons.” SAC ¶32.

18          Similarly, in enumerating other supposedly “individual works of creative expression that
19 each individually constitute copyrightable subject matter” (SAC ¶23), PUBG identifies

20 “consumables, such as … first aid and medical kits” (id. ¶39), and alleges NetEase copied its first

21 aid kits (id. ¶ 76). But again, comparing the images of Battlegrounds alleged at Paragraph 107

22 with images sold in the Unreal Marketplace reveals that PUBG does not own those images either:

23             Images from SAC ¶¶76, 107                     Unreal Marketplace (LaFond Ex. B)
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                                                    -3-                      Case No. 4:18-cv-02010-JSW
             NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                            OUTCOME OF RULE 11 DISPUTE
        Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 5 of 7



 1             Images from SAC ¶¶76, 107                       Unreal Marketplace (LaFond Ex. B)
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 7 More examples are identified in NetEase’s letter to PUBG, including a weapon that the

 8 marketplace provider specifically advertises as “used in Battlegrounds.” LaFond Dec. Ex. D.

 9           NetEase provides these examples not to seek premature adjudication of a Rule 11 motion,

10 but to illustrate the severity of the prejudice it faces if resolution of its Motion to Dismiss is not

11 stayed. This prejudice arises not just from the mere falsity of the allegations, but because the

12 falsity goes to the fundamental viability of PUBG’s SAC. This is because “only copyright

13 owners and exclusive licensees of copyright may enforce a copyright or a license.” Sybersound

14 Records, Inc. v. UAV Corp., 517 F.3d 1137, 1144 (9th Cir. 2008). PUBG cannot allege a

15 copyright claim based on art it neither owns nor has an exclusive license to (as evidenced by

16 continued availability for licensing). See LaFond Exs. A, B. Moreover, PUBG cannot evade this

17 problem by adding new original content to licensed images, because “a derivative author may

18 [not] own the copyright in … material the author did not create.” See U.S. Auto Parts Network,

19 Inc. v. Parts Geek, LLC, 692 F.3d 1009, 1016 (9th Cir. 2012). Thus, the SAC’s repeated

20 comparisons of art PUBG does not own to NetEase’s games undermine its entire copyright claim.

21          In situations such as these, the Court is empowered to enter a stay pending the outcome of

22 a forthcoming Rule 11 motion. See, e.g., Viper Networks, Inc. v. Rates Tech. Inc., 2009 WL

23 2151343, at *1 (S.D. Cal. July 17, 2009) (“RTI’s ex parte motion to stay is GRANTED. The

24 action is stayed except for RTI’s motions to transfer venue, for summary judgment and for Rule

25 11 sanctions. The stay will be lifted, if necessary, upon the filing of the Court’s Order addressing

26 RTI’s motions.”); see also Bus. Guides v. Chromatic Commc’ns Enters., Inc., 119 F.R.D. 685, 690

27 (N.D. Cal. 1988) (“The court therefore stays the [dispute] and grants defendants thirty (30) days

28 from the date of the filing of this order to file a motion for sanctions [pursuant to Rule 11].”).
                                                       -4-                    Case No. 4:18-cv-02010-JSW
              NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                             OUTCOME OF RULE 11 DISPUTE
        Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 6 of 7



 1 Such a stay is appropriate here, in light of the fundamental flaws in PUBG’s copyright allegations.

 2   IV.    PUBG’s PROFFERED EXPLANATION IS INADEQUATE
 3          When NetEase raised this issue with PUBG’s counsel, PUBG responded by claiming that

 4 it is only alleging the infringement of the selection and arrangement of unprotectable elements.

 5 See LaFond Ex. E. This is simply not credible; the SAC clearly and unambiguously accuses

 6 NetEase of copying graphical depictions. E.g., ¶71 (“The grenades in ROS are depicted similarly

 7 to the grenades in BATTLEGROUNDS. . . . On information and belief, Defendants copied

 8 PUBG’s expressive depictions of the grenades identified above where other depictions could have

 9 been used.”); ¶76 (“Each game has a similar assortment of such items, which are depicted

10 similarly . . .”); ¶99 (“[B]oth depictions of this rifle share the same stock with an extended recoil

11 pad.”) (emphasis added in each). PUBG’s SAC unambiguously, and repeatedly, accuses NetEase

12 of copying the graphical depictions of artwork that PUBG does not own or have an exclusive

13 license to, and which cannot form the basis of a copyright claim. See also, e.g., SAC ¶¶23, 25,

14 32, 33, 57, 68, 89, 102, 107, 121. PUBG’s proffered explanation is inconsistent with its own

15 complaint; a stay of the pending Motion to Dismiss is appropriate until this issue is resolved.

16    V.    PUBG REFUSES TO AGREE TO A STAY
17          On October 29, 2018, counsel for NetEase contacted PUBG and requested a meet and

18 confer to discuss the possibility of staying adjudication of NetEase’s Motion to Dismiss pending

19 the outcome of this dispute. LaFond Ex. F; see also Civil L.R. 7-11(a). PUBG’s counsel

20 represented that it objects to the filing of NetEase’s “proposed stay motion and reserve all rights in

21 that regard.” LaFond Ex. F. PUBG’s response did not agree to meet and confer on October 29

22 (the date NetEase offered) or provide any alternative dates. Id. Instead, PUBG demanded as a

23 precondition of a meet and confer that NetEase provide a list of “specific amendments” to the

24 SAC, ignoring the Rule 11 problems with its Opposition to NetEase’s Motion to Dismiss. Id.

25   VI.    CONCLUSION
26          For the foregoing reasons, the Court should stay determination of NetEase’s Motion to

27 Dismiss (Dkt. 47) pending resolution of the Rule 11 issues raised herein.

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                                                      -5-                    Case No. 4:18-cv-02010-JSW
             NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                            OUTCOME OF RULE 11 DISPUTE
        Case 4:18-cv-02010-JSW Document 78 Filed 10/30/18 Page 7 of 7



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                                                   -6-                      Case No. 4:18-cv-02010-JSW
            NETEASE DEFENDANTS’ ADMINISTRATIVE MOTION TO STAY MOTION TO DISMISS DETERMINATION PENDING
                                                                           OUTCOME OF RULE 11 DISPUTE
